    Case 1:19-cr-00184-JAW Document 7 Filed 09/03/19 Page 1 of 2             PageID #: 15




                                          Synopsis
                                        (Complaint)

Name:                                   Praneeth Manubolu

Address:                                Edgewater, NJ
(City & State Only)
Year of Birth and Age:                  1991/28

Violations:                             Counts 1, 2 and 3: 18 U.S.C. §§7 and 13 and 17-A
                                        M.R.S. §203, Manslaughter, Class A Felony
Penalties:                              Counts 1, 2, and 3: Up to 30 years imprisonment, a fine
                                        of $50,000, or both. Title 18 §§7 and 13 and 17-A
                                        M.R.S. §§1252(2)(A), 1301(1-A)(A). Up to four years
                                        of probation. Title 18 U.S.C. §§7 and 13 and 17-A
                                        M.R.S. §1202(1)
Supervised Release:                     Counts 1, 2, and 3: None permissible.

Maximum Term of Imprisonment for        Counts 1, 2, and 3: N/A
Violation of Supervised Release:

Maximum Add’l Term of Supervised        Counts 1, 2, and 3: N/A
Release for Violation of Supervised
Release:
Defendant’s Attorney:                   James Nixon, Esquire

Primary Investigative Agency and Case   U.S. Park Ranger, Brian Dominy
Agent Name:

Detention Status:                       Detained

Foreign National:                       Yes

Foreign Consular Notification Provided: Yes

County:                                 Hancock

AUSA:                                   Raphaelle Silver

Guidelines apply? Y/N                   No

Victim Case:                            Yes

Corporate Victims Owed Restitution?     N/A
Y/N
   Case 1:19-cr-00184-JAW Document 7 Filed 09/03/19 Page 2 of 2   PageID #: 16




Assessments:                       $100
